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                              IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF ARKANSAS
                                     FAYETTEVILLE DIVISION

 UNITED STATES OF AMERICA

         PLAINTIFF,

  vs.                                                       Cr. No. 5:04CR50016-003

 ARMANDO SANTILLAN-SALINAS,

         DEFENDANT.

                                     ORDER FOR REMISSION OF FINE


         Now on this 3rd day of December, 2007, comes on to be considered the United States' Petition

 for Remission of Fine. The Court, being well and sufficiently advised, finds and orders as follows with

 respect thereto:

         1. On February 17, 2007, Defendant was sentenced to forty-six months incarceration, a $500.00

 fine and a $100.00 special assessment.

         2. The United States moves to remit Defendant's fine pursuant to 18 U.S.C. § 3573, which

 provides:

         Upon petition of the Government showing that reasonable efforts to collect a fine...
         are not likely to be effective, the court may, in the interest of justice - -

         1) remit all or part of the unpaid portion of the fine or special assessment, including interest and
         penalties. This statute shall apply to all          fines and assessments, irrespective of the date of
         imposition."

         The United States states that the Defendant was deported on July 30, 2007, and that there is no

 reasonable likelihood that the fine can be collected.

         3. Upon due consideration, the United States' Petition for Remission of Fine is hereby granted

 and Defendant's fine is remitted.

         IT IS SO ORDERED.



                                                            /s/Jimm Larry Hendren
                                                            HONORABLE JIMM LARRY HENDREN
                                                            CHIEF U. S. DISTRICT JUDGE
